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 Fill in this information to identify your case:


 United States Bankruptcy Court for the:

       Northern          District of: Illinois
                                     (State)

 Case number (if known)                                 Chapter you are filing under:

                                                               Chapter 7
                                                               Chapter 11
                                                               Chapter 12                                                           Check if this is an
                                                               Chapter 13                                                           amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case —and in joint cases, these forms useyou to ask for information from both debtors. For example, if a form asks, "Do you own a car, "the
answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1:   Identify Yourself
                                  About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

 1. Your full name                  Larry
                                  First name                                                     First name
    Write the name that is on
    your government-issued
    picture identification (for
                                  Middle name                                                    Middle name
    example, your driver's          Warr
    license or passport           Last name                                                      Last name

    Bring your picture
    identification to your        Suffix (Sr., Jr., II, III)                                     Suffix (Sr., Jr., II, III)
    meeting with the trustee.

 2. All other names you
    have used in the              First name                                                     First name
    last 8 years
                                  Middle name                                                    Middle name
    Include your married or
    maiden names.
                                  Last name                                                      Last name

                                  First name                                                     First name

                                  Middle name                                                    Middle name

                                  Last name                                                      Last name

 3. Only the last 4
    digits of your                 xxx - xx-           3671                                       xxx - xx-
    Social Security                OR                                                             OR
    number or federal
    Individual Taxpayer            9 xx - xx-                                                     9 xx - xx-
    Identification
    number (ITIN)
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Debtor 1 Larry                                                       Warr                          Case number (if known)
         First Name                     Middle Name                  Last Name



                            About Debtor 1:                                                          About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names              I have not used any business names or EINs.                              I have not used any business names or EINs.
  and Employer
  Identification
                            Business name                                                            Business name
  Numbers (EIN) you
  have used in the
  last 8 years              Business name                                                            Business name

  Include trade names and
  doing business as names   EIN                                                                      EIN


                            EIN                                                                      EIN


5. Where you live                                                                                     If Debtor 2 lives at a different address:
                            9147 S Ashland Ave Apt 301
                            Number           Street                                                  Number                 Street


                            Chicago                   Illinois              60620
                            City                      State                 Zip Code                 City                     State                 Zip Code

                            Cook
                            County                                                                   County
                            If your mailing address is different from the one above,                 If Debtor 2’s mailing address is different from yours, fill it
                            fill it in here. Note that the court will send any notices to you at     in here. Note that the court will send any notices to this mailing
                            this mailing address.                                                    address.


                            Number               Street                                              Number                 Street




                            City                          State               Zip Code               City                            State             Zip Code

6. Why you are
                            Check one:                                                               Check one:
  choosing this
  district to file for             Over the last 180 days before filing this petition, I have               Over the last 180 days before filing this petition, I have
  bankruptcy                       lived in this district longer than in any other district.                lived in this district longer than in any other district.

                                   I have another reason. Explain. (See 28 U.S.C. §§ 1408.)                 I have another reason. Explain. (See 28 U.S.C. §§ 1408.)




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Debtor 1 Larry                                                         Warr                     Case number (if known)
         First Name                     Middle Name                    Last Name

Part 2: Tell the Court About Your Bankruptcy Case

7. The chapter of the         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
   Bankruptcy Code     B2010)). Also, go to the top of page 1 and check the appropriate box.
   you are choosing to
                           Chapter 7
   file under
                                  Chapter 11
                                  Chapter 12
                                  Chapter 13


8. How you will pay
                                  I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
   the fee                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you
                                  may pay with cash, cashier's check, or money order... If your attorney is submitting your payment
                                  on your behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                  I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                  Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                 I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                 less than 150% of the official poverty line that applies to your family size and you are unable to pay
                                 the fee in installments). If you choose this option, you must fill out the Application to Have the
                                 Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for
                                  No.
   bankruptcy within
   the last 8 years?              Yes. District                                          When                        Case number
                                                                                                 MM / DD / YYYY
                                        District                                         When                        Case number
                                                                                                 MM / DD / YYYY
                                        District                                         When                        Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy
                                  No.
   cases pending or
   being filed by a               Yes. Debtor                                                                        Relationship to you
   spouse who is not                    District                                         When                        Case number, if known
   filing this case with                                                                         MM / DD / YYYY
   you, or by a                         Debtor                                                                       Relationship to you
   business partner, or
                                        District                                         When                        Case number, if known
   by an affiliate?                                                                              MM / DD / YYYY


11. Do you rent your
                                  No. Go to line 12.
   residence?
                                  Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                             No. Go to line 12.

                                             Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                      this bankruptcy petition.




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Debtor 1 Larry                                                     Warr                         Case number (if known)
          First Name                  Middle Name                  Last Name

Part 3:   Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole
                                   No.    Go to Part 4.
   proprietor of any
   full- or part-time              Yes. Name and location of business
   business?
                                           Name of business, if any
   A sole proprietorship
   is a business you
   operate as an                           Number                              Street
   individual, and is not
   a separate legal
   entity such as a
   corporation,
   partnership, or LLC.
                                           City                                         State                            Zip Code
   If you have more
   than one sole                           Check the appropriate box to describe your business:
   proprietorship, use a
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
   separate sheet and
   attach it to this                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
   petition.                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    None of the above


13. Are you filing under    If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
   Chapter 11 of the        deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
   Bankruptcy Code          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
   and are you a small      U.S.C. § 11 16(1)(B).
   business debtor?

   For a definition of             No.    I am not filing under Chapter 11.
   small business                  No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
   debtor, see 11 U.S.C.                  Bankruptcy Code.
   § 101(51D).
                                   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.

Part 4:   Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have
                                  No.
   any property that
   poses or is alleged             Yes. What is the hazard?
   to pose a threat of
   imminent and
                                         If immediate attention is needed, why is it needed?
   identifiable hazard
   to public health or
   safety? Or do you                     Where is the property?
   own any property
                                                                    Number                      Street
   that needs
   immediate
   attention?

   For example, do you
                                                                    City                                  State                         Zip Code
   own perishable goods,
   or livestock that must
   be fed, or a building
   that needs urgent
   repairs?

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Debtor 1 Larry                                                      Warr                          Case number (if known)
          First Name                  Middle Name                  Last Name

Part 5:   Explain Your Efforts to Receive a Briefing About Credit Counseling

                            About Debtor 1:                                                         About Debtor 2 (Spouse Only in a Joint Case):


15. Tell the court          You must check one:                                                     You must check one:
   whether you have
                                I received a briefing from an approved credit                            I received a briefing from an approved credit
   received briefing            counseling agency within the 180 days before I filed                     counseling agency within the 180 days before I filed
   about credit                 this bankruptcy petition, and I received a certificate of                this bankruptcy petition, and I received a certificate of
   counseling.                  completion.                                                              completion.

   The law requires that        Attach a copy of the certificate and the payment plan, if any,           Attach a copy of the certificate and the payment plan, if any,
                                that you developed with the agency.                                      that you developed with the agency.
   you receive a briefing
   about credit                 I received a briefing from an approved credit                            I received a briefing from an approved credit
   counseling before            counseling agency within the 180 days before I filed                     counseling agency within the 180 days before I filed
   you file for                 this bankruptcy petition, but I do not have a                            this bankruptcy petition, but I do not have a
                                certificate of completion.                                               certificate of completion.
   bankruptcy. You
   must truthfully check        Within 14 days after you file this bankruptcy petition,                  Within 14 days after you file this bankruptcy petition,
   one of the following         you MUST file a copy of the certificate and payment                      you MUST file a copy of the certificate and payment
   choices. If you              plan, if any.                                                            plan, if any.
   cannot do so, you are        I certify that I asked for credit counseling services                    I certify that I asked for credit counseling services
   not eligible to file.        from an approved agency, but was unable to obtain                        from an approved agency, but was unable to obtain
                                those services during the 7 days after I made my                         those services during the 7 days after I made my
   If you file anyway,          request, and exigent circumstances merit a 30-day                        request, and exigent circumstances merit a 30-day
   the court can dismiss        temporary waiver of the requirement.                                     temporary waiver of the requirement.
   your case, you will
                                To ask for a 30-day temporary waiver of the requirement,                 To ask for a 30-day temporary waiver of the requirement,
   lose whatever filing         attach a separate sheet explaining what efforts you made to              attach a separate sheet explaining what efforts you made to
   fee you paid, and            obtain the briefing, why you were unable to obtain it before             obtain the briefing, why you were unable to obtain it before
   your creditors can           you filed for bankruptcy, and what exigent circumstances                 you filed for bankruptcy, and what exigent circumstances
   begin collection             required you to file this case.                                          required you to file this case.
   activities again.            Your case may be dismissed if the court is dissatisfied with             Your case may be dismissed if the court is dissatisfied with
                                your reasons for not receiving a briefing before you filed for           your reasons for not receiving a briefing before you filed for
                                bankruptcy.                                                              bankruptcy.

                                If the court is satisfied with your reasons, you must still              If the court is satisfied with your reasons, you must still
                                receive a briefing within 30 days after you file. You must file          receive a briefing within 30 days after you file. You must file
                                a certificate from the approved agency, along with a copy of             a certificate from the approved agency, along with a copy of
                                the payment plan you developed, if any. If you do not do so,             the payment plan you developed, if any. If you do not do so,
                                your case may be dismissed.                                              your case may be dismissed.

                                Any extension of the 30-day deadline is granted only for                 Any extension of the 30-day deadline is granted only for
                                cause and is limited to a maximum of 15 days.                            cause and is limited to a maximum of 15 days.

                                I am not required to receive a briefing about credit                     I am not required to receive a briefing about credit
                                counseling because of:                                                   counseling because of:

                                    Incapacity.       I have a mental illness or a mental                    Incapacity.       I have a mental illness or a mental
                                                      deficiency that makes me incapable of                                    deficiency that makes me incapable of
                                                      realizing or making rational decisions                                   realizing or making rational decisions
                                                      about finances.                                                          about finances.
                                    Disability.       My physical disability causes me to be                 Disability.       My physical disability causes me to be
                                                      unable to participate in a briefing in                                   unable to participate in a briefing in
                                                      person, by phone, or through the                                         person, by phone, or through the
                                                      internet, even after I reasonably tried                                  internet, even after I reasonably tried
                                                      to do so.                                                                to do so.
                                    Active duty.      I am currently on active military duty in              Active duty.      I am currently on active military duty in
                                                      a military combat zone.                                                  a military combat zone.
                                If you believe you are not required to receive a briefing                If you believe you are not required to receive a briefing
                                about credit counseling, you must file a motion for waiver of            about credit counseling, you must file a motion for waiver of
                                credit counseling with the court.                                        credit counseling with the court.




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Debtor 1 Larry                                                  Warr                          Case number (if known)
          First Name                Middle Name                 Last Name

Part 6: Answer These Questions for Reporting Purposes

16. What kind of debts
                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. §
                                101(8) as "incurred by an individual primarily for a personal, family, or household purpose."
   do you have?
                                     No. Go to line 16b.
                                    Yes. Go to line 17.
                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to
                                obtain money for a business or investment or through the operation of the business or
                                investment.
                                    No. Go to line 16c.
                                     Yes. Go to line 17.
                           16c. State the type of debts you owe that are not consumer debts or business debts.


17. Are you filing under
                               No. I am not filing under Chapter 7. Go to line 18.
   Chapter 7?
   Do you estimate that        Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
   after any exempt                 paid that funds will be available to distribute to unsecured creditors?
   property is excluded
                                         No.
   and administrative
   expenses are paid                     Yes.
   that funds will be
   available for
   distribution to
   unsecured creditors?

18. How many creditors         1-49                                         1,000-5,000                                  25,001-50,000
   do you estimate that        50-99                                        5,001-10,000                                 50,001-100,000
   you owe?                    100-199                                      10,001-25,000                                More than 100,000
                               200-999

19. How much do you            $0-$50,000                                   $1,000,001-$10 million                       $500,000,001-$1 billion
   estimate your assets        $50,001-$100,000                             $10,000,001-$50 million                      $1,000,000,001-$10 billion
   to be worth?                $100,001-$500,000                            $50,000,001-$100 million                     $10,000,000,001-$50 billion
                               $500,001-$1 million                          $100,000,001-$500 million                    More than $50 billion

20. How much do you            $0-$50,000                                   $1,000,001-$10 million                       $500,000,001-$1 billion
   estimate your               $50,001-$100,000                             $10,000,001-$50 million                      $1,000,000,001-$10 billion
   liabilities to be?          $100,001-$500,000                            $50,000,001-$100 million                     $10,000,000,001-$50 billion
                               $500,001-$1 million                          $100,000,001-$500 million                    More than $50 billion
Part 7:   Sign Below
                           I have examined this petition, and I declare under penalty of perjury that the information provided is true
For you
                           and correct.
                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7,
                           11,12, or 13 of title 11, United States Code. I understand the relief available under each chapter, and I
                           choose to proceed under Chapter 7.
                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help
                           me fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                           I understand making a false statement, concealing property, or obtaining money or property by fraud in
                           connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
                           years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                           û       /s/ Larry Warr
                                Signature of Debtor 1
                                                                                               û      Signature of Debtor 2

                                 Executed on         10/9/2016                                        Executed on
                                                       MM / DD / YYYY                                                         MM / DD / YYYY
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Debtor 1 Larry                                                Warr                       Case number (if known)
         First Name               Middle Name                 Last Name


For your attorney, if     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
you are represented       eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained
by one                    the relief available under each chapter for which the person is eligible. I also certify that I have delivered
                          to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
If you are not            certify that I have no knowledge after an inquiry that the information in the schedules filed with the
represented by an         petition is incorrect.

                          û
attorney, you do not
need to file this page.           /s/ Jason Diaz                                          Date            10/9/2016
                               Signature of Attorney for Debtor                                         MM / DD / YYYY



                               Jason Diaz
                               Printed name

                               Semrad Law Firm
                               Firm name
                               11101 S. Western Avenue
                               Street



                               Chicago                                        Illinois                                60643
                               City                                           State                                   Zip Code

                               Contact phone                                         Email address                jdiaz@semradlaw.com

                                                                                                   Illinois
                               Bar number                                                          State




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 Fill in this information to identify your case:

 Debtor 1             Larry                                                                            Warr
                      First Name                                    Middle Name                        Last Name
 Debtor 2
 (Spouse, if filing) First Name                                     Middle Name                        Last Name

 United States Bankruptcy Court for the:                Northern                               District of Illinois
                                                                                                           (State)
 Case number
 (If known)

                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:      Summarize Your Assets

                                                                                                                                                             Your assets
                                                                                                                                                             Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                       $0.00
    1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................

                                                                                                                                                                       $1,500.00
    1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                      $1,500.00
    1c. Copy line 63, Total of all property on Schedule A/B.......................................................................................


 Part 2:      Summarize Your Liabilities

                                                                                                                                                             Your liabilities
                                                                                                                                                             Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                       $2,000.00
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                           $0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................

                                                                                                                                                                       $30,881.00
    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                                    Your total liabilities            $32,881.00



 Part 3:      Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                       $1,736.50
    Copy your combined monthly income from line 12 of Schedule I.........................................................................


 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                       $1,511.00
    Copy your monthly expenses from line 22, Column A, of Schedule J................................................................



  Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                   page 1
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Debtor 1 Larry                                                             Warr                         Case number (if known)
            First Name                         Middle Name                 Last Name

Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes.

7. What kind of debt do you have?

          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.


8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                       $4,073.67
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     From Part 4 on Schedule E/F, copy the following:                                                              Total claim


     9a. Domestic support obligations (Copy line 6a.)                                                              $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                     $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                           $0.00


     9d. Student loans. (Copy line 6f.)                                                                            $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                   $0.00
     priority claims. (Copy line 6g.)

                                                                                                                   $0.00
     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)


     9g. Total. Add lines 9a through 9f.                                                                           $0.00




 Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                                     page 2
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 Fill in this information to identify your case:

 Debtor 1            Larry                                                        Warr
                     First Name                           Middle Name             Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name             Last Name

 United States Bankruptcy Court for the:           Northern                 District of Illinois
                                                                                        (State)
 Case number
 (If known)

                                                                                                                                               Check if this is an
Official Form 106A/B                                                                                                                           amended filing

Schedule A/B: Property                                                                                                                                               12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.
 Part 1:      Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2
              Yes. Where is the property?
                                                                   What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.1                                                              Single-family home                            the amount of any secured claims on Schedule D:
              Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                    Current value of the      Current value of the
                                                                                                                   entire property?          portion you own?
                                                                     Manufactured or mobile home
                                                                     Land
              Number         Street                                  Investment property                           Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Timeshare                                     the entireties, or a life estate), if known.
              City                State             Zip Code         Other

                                                                                                                       Check if this is community property
                                                                   Who has an interest in the property? Check          (see instructions)
                                                                   one.
                                                                       Debtor 1 only
                                                                       Debtor 2 only
                                                                       Debtor 1 and Debtor 2 only
                                                                       At least one of the debtors and another
                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:
    If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.2                                                              Single-family home                            the amount of any secured claims on Schedule D:
              Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                    Current value of the      Current value of the
                                                                                                                   entire property?          portion you own?
                                                                     Manufactured or mobile home
                                                                     Land
              Number         Street                                  Investment property                           Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Timeshare                                     the entireties, or a life estate), if known.
              City                State             Zip Code         Other

                                                                                                                       Check if this is community property
                                                                   Who has an interest in the property? Check          (see instructions)
                                                                   one.
                                                                       Debtor 1 only
                                                                       Debtor 2 only
                                                                       Debtor 1 and Debtor 2 only
                                                                       At least one of the debtors and another
                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


  Official Form 106A/B                                                      Schedule A/B: Property                                                      page 1
                       Case 16-32190                      Doc 1            Filed 10/09/16 Entered 10/09/16 09:25:21                                               Desc Main
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 Debtor 1 Larry                                                                          Warr                               Case number (if known)
               First Name                              Middle Name                       Last Name

                                                                       What is the property? Check all that apply.                            Do not deduct secured claims or exemptions. Put
 1.3                                                                        Single-family home                                                the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                                     Creditors Who Have Claims Secured by Property.
                                                                            Duplex or multi-unit building
                                                                            Condominium or cooperative                                        Current value of the      Current value of the
                                                                                                                                              entire property?          portion you own?
                                                                            Manufactured or mobile home
                                                                            Land
       Number               Street
                                                                            Investment property                                               Describe the nature of your ownership
                                                                                                                                              interest (such as fee simple, tenancy by
                                                                            Timeshare
       City                     State             Zip Code                  Other                                                             the entireties, or a life estate), if known.


                                                                       Who has an interest in the property? Check one.                              Check if this is community property
                                                                                                                                                    (see instructions)
                                                                            Debtor 1 only
                                                                            Debtor 2 only
                                                                            Debtor 1 and Debtor 2 only
                                                                            At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here. ...................................................................................................




Part 2:     Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
          No
          Yes
       3.1 Make                                                              Who has an interest in the property? Check                       Do not deduct secured claims or exemptions. Put
           Model:                                                            one.                                                             the amount of any secured claims on Schedule D:
           Year:                                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                   Debtor 2 only                                               Current value of the      Current value of the
               Other information:                                                 Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
                                                                                  At least one of the debtors and another
                                                                                  Check if this is community property (see
                                                                                  instructions)

       3.2 Make                                                              Who has an interest in the property? Check                       Do not deduct secured claims or exemptions. Put
           Model:                                                            one.                                                             the amount of any secured claims on Schedule D:
           Year:                                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                   Debtor 2 only                                               Current value of the      Current value of the
               Other information:                                                 Debtor 1 and Debtor 2 only                                  entire property?          portion you own?
                                                                                  At least one of the debtors and another
                                                                                  Check if this is community property (see
                                                                                  instructions)




  Official Form 106A/B                                                                   Schedule A/B: Property                                                                     page 2
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Debtor 1 Larry                                                                           Warr                                Case number (if known)
              First Name                               Middle Name                       Last Name

       3.3 Make                                                              Who has an interest in the property? Check                       Do not deduct secured claims or exemptions. Put
           Model:                                                            one.                                                             the amount of any secured claims on Schedule D:
           Year:                                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                   Debtor 2 only                                               Current value of the    Current value of the
              Other information:                                                  Debtor 1 and Debtor 2 only                                  entire property?        portion you own?
                                                                                  At least one of the debtors and another
                                                                                  Check if this is community property (see
                                                                                  instructions)

       3.4 Make                                                              Who has an interest in the property? Check                       Do not deduct secured claims or exemptions. Put
           Model:                                                            one.                                                             the amount of any secured claims on Schedule D:
           Year:                                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                   Debtor 2 only                                               Current value of the    Current value of the
              Other information:                                                  Debtor 1 and Debtor 2 only                                  entire property?        portion you own?
                                                                                  At least one of the debtors and another
                                                                                  Check if this is community property (see
                                                                                  instructions)

4      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

             No
             Yes

       4.1 Make                                                              Who has an interest in the property? Check                       Do not deduct secured claims or exemptions. Put
           Model:                                                            one.                                                             the amount of any secured claims on Schedule D:
           Year:                                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                   Debtor 2 only                                               Current value of the    Current value of the
              Other information:                                                  Debtor 1 and Debtor 2 only                                  entire property?        portion you own?
                                                                                  At least one of the debtors and another
                                                                                  Check if this is community property (see
                                                                                  instructions)

       4.2 Make                                                              Who has an interest in the property? Check                       Do not deduct secured claims or exemptions. Put
           Model:                                                            one.                                                             the amount of any secured claims on Schedule D:
           Year:                                                                  Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                   Debtor 2 only                                               Current value of the    Current value of the
              Other information:                                                  Debtor 1 and Debtor 2 only                                  entire property?        portion you own?
                                                                                  At least one of the debtors and another
                                                                                  Check if this is community property (see
                                                                                  instructions)
    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
    you have attached for Part 2. Write that number here ...................................................................................................




    Official Form 106A/B                                                                 Schedule A/B: Property                                                                 page 3
                      Case 16-32190                          Doc 1             Filed 10/09/16 Entered 10/09/16 09:25:21                                                 Desc Main
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Debtor 1 Larry                                                                                Warr                                  Case number (if known)
             First Name                                   Middle Name                         Last Name

Part 3:     Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                portion you own?
                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                 or exemptions.
 6. Household goods and furnishings
  Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes. Describe...           misc household goods                                                                                                                $400.00

 7. Electronics
  Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
    No
    Yes. Describe...           misc electronics                                                                                                                    $250.00

 8. Collectibles of value
  Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
    Yes. Describe...


 9. Equipment for sports and hobbies
  Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
            and kayaks; carpentry tools; musical instruments
    No
    Yes. Describe...

 10. Firearms
  Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe...

 11. Clothes
  Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes. Describe...           misc clothing                                                                                                                       $150.00

 12. Jewelry
  Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
    No
    Yes. Describe...

 13. Non-farm animals
  Examples: Dogs, cats, birds, horses
    No
    Yes. Describe...

 14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes. Describe...

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                   $1300.00
 for Part 3. Write that number here ..........................................................................................................................




 Official Form 106A/B                                                                         Schedule A/B: Property                                                                    page 4
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Debtor 1 Larry                                                                                              Warr                      Case number (if known)
          First Name                                            Middle Name                                 Last Name

Part 4:   Describe Your Financial Assets
                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                                                    portion you own?
                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                               or exemptions.
16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
          No
          Yes ....................................................................................................
                                                                                                                                     Cash: .................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
                                                                                                  Institution name:
          Yes


                                           17.1. Checking account:                                 North Star                                                                  $200.00

                                           17.2. Checking account:

                                           17.3. Savings account:

                                           17.4. Savings account:

                                           17.5. Certificates of deposit:

                                           17.6. Other financial account:

                                           17.7. Other financial account:

                                           17.8. Other financial account:

                                           17.9. Other financial account:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
          No
                                           Institution or issuer name:
          Yes




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
          No
                                           Name of entity                                                                            % of ownership:
          Yes. Give specific
          information about
          them




 Official Form 106A/B                                                                                       Schedule A/B: Property                                                             page 5
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Debtor 1 Larry                                                          Warr                         Case number (if known)
          First Name                          Middle Name               Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          No
          Yes. Give specific
          information about    Issuer name:
          them.....




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
          No
                               Type of account:                   Institution name:
          Yes. List each
          account              401(k) or similar plan:
          separately.
                               Pension plan:

                               IRA:

                               Retirement account:

                               Keogh:

                               Additional account:

                               Additional account:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
          No                                                      Institution name:

          Yes....              Electric:

                               Gas:

                               Heating oil:

                               Security deposit on rental unit:

                               Prepaid rent:

                               Telephone:

                               Water:

                               Rented furniture:

                               Other:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
          No
                               Issuer name and description:
          Yes....




 Official Form 106A/B                                                   Schedule A/B: Property                                            page 6
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Debtor 1 Larry                                                            Warr                          Case number (if known)
          First Name                            Middle Name               Last Name

24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

          No
                       Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
          Yes....




25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit

          No
          Yes. Describe...



26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

          No
          Yes. Describe...



27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          No
          Yes. Describe...



Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.
28. Tax refunds owed to you

         No
         Yes. Give specific information                                                                              Federal:                 $0.00
              about them, including whether
              you already filed the returns                                                                          State:                   $0.00
              and the tax years..............
                                                                                                                     Local:                   $0.00
29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

         No
                                                                                                                     Alimony:                 $0.00
         Yes. Give specific information......
                                                                                                                     Maintenance:             $0.00

                                                                                                                     Support:                 $0.00

                                                                                                                     Divorce settlement:      $0.00

                                                                                                                     Property settlement:     $0.00
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else

         No
         Yes. Describe...




 Official Form 106A/B                                                     Schedule A/B: Property                                                            page 7
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Debtor 1 Larry                                                                            Warr                                Case number (if known)
             First Name                                Middle Name                        Last Name

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

            No
                                                                      Company name:                                                        Beneficiary:       Surrender or refund value:
            Yes. Name the insurance company
            of each policy and list its value.....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.

            No
            Yes. Describe...



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

            No
            Yes. Describe...



34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims

            No
            Yes. Describe...



35. Any financial assets you did not already list

            No
            Yes. Describe...




36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached                                                       $200.00
    for Part 4. Write that number here ................................................................................................................




Part 5:     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.                                                                                                                             Current value of the
                                                                                                                                                          portion you own?
            Yes. Go to line 38.                                                                                                                           Do not deduct secured claims
                                                                                                                                                          or exemptions
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe...



39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

            No
            Yes. Describe...




  Official Form 106A/B                                                                    Schedule A/B: Property                                                         page 8
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  Debtor 1 Larry                                                                                       Warr                                     Case number (if known)
                First Name                                      Middle Name                            Last Name

 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

               No
               Yes. Describe...



 41. Inventory

               No
               Yes. Describe...



 42. Interests in partnerships or joint ventures

               No
                                                                                 Name of entity:                                                                % of ownership:
               Yes. Give specific
               information about
               them




 43. Customer lists, mailing lists, or other compilations

               No
               Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                            No
                            Yes. Describe........

 44. Any business-related property you did not already list

               No
               Yes. Give specific
               information .......




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here ...............................................................................................................................................

 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

 46.     Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

                No. Go to Part 7.                                                                                                                                                       Current value of the
                                                                                                                                                                                        portion you own?
                Yes. Go to line 47.                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                        claims
                                                                                                                                                                                        or exemptions
 47.     Farm animals
         Examples: Livestock, poultry, farm-raised fish

                No
                Yes. Describe...




    Official Form 106A/B                                                                               Schedule A/B: Property                                                                    page 9
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  Debtor 1 Larry                                                                                          Warr                                      Case number (if known)
                First Name                                       Middle Name                              Last Name

 48.     Crops-either growing or harvested

                No
                Yes. Describe...



 49.     Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

                No
                Yes. Describe...



 50.     Farm and fishing supplies, chemicals, and feed

                No
                Yes. Describe...



 51.     Any farm- and commercial fishing-related property you did not already list

                No
                Yes. Describe...



52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................




 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above
 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership

               No
               Yes. Give specific
               information




54. Add the dollar value of all of your entries from Part 7. Write that number here ...........................................................................




 Part 8:       List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ...........................................................................................................................................

 56. part 2 total vehicles, line 5
 57.Part 3: Total personal and household items, line 15                                                      $1300.00
 58.Part 4: Total financial assets, line 36                                                                  $200.00
 59. Part 5: Total business-related property, line 45

 60. Part 6: Total farm- and fishing-related property, line 52

 61. Part 7: Total other property not listed, line 54

 62. Total personal property. Add lines 56 through 61. ....................                                  $1500.00                                                                           + $1500.00
                                                                                                                                                           Copy personal property total

                                                                                                                                                                                                $1500.00
 63.Total of all property on Schedule A/B. Add line 55 + line 62..........................................................................................



   Official Form 106A/B                                                                                  Schedule A/B: Property                                                                    page 10
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Debtor 1 Larry                                            Warr                     Case number (if known)
          First Name                  Middle Name         Last Name

Schedule A/B: Property. Additional page

Part 3:   Describe Your Personal and Household Items
                                                                                                            Current value of the
Do you own or have any legal or equitable interest in any of the following items?                           portion you own?
                                                                                                            Do not deduct secured claims
                                                                                                            or exemptions.
 6.2. Household goods and furnishings
   No
   Yes. Describe...     Bedroom Set                                                                           $500.00




 Official Form 106A/B                                     Schedule A/B: Property                                                   page 11
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 Fill in this information to identify your case:

 Debtor 1              Larry                                                          Warr
                       First Name                         Middle Name                 Last Name
 Debtor 2
(Spouse, if filing) First Name                            Middle Name                 Last Name

 United States Bankruptcy Court for the:           Northern                     District of Illinois
                                                                                            (State)
 Case number
(If known)

                                                                                                                                                    Check if this is an
Official Form 106C                                                                                                                                  amended filing

Schedule C: The Property You Claim as Exempt                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that
you claim as exempt. If more space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as
necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing
so is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property
being exempted up to the amount of any applicable statutory limit. Some exemptions—such as those for health aids, rights
to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of
the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

Part 1:      Identify the Property You Claim as Exempt
 1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
             You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
             You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and             Current value of         Amount of the exemption you claim           Specific laws that allow exemption
        line on Schedule A/B that lists this              the portion you
        property                                          own                      Check only one box for each exemption.

                                                          Copy the value from
                                                          Schedule A/B

        Brief                                                                                                                         735 ILCS 5/12-1001(a)
        description:                                          $150.00
                                                                                                           $150.00
             misc clothing
                                                                                        100% of fair market value, up to any
        Line from                                                                       applicable statutory limit
        Schedule A/B:          11
        Brief                                                                                                                         735 ILCS 5/12-1001(b)
        description:                                          $400.00
                                                                                                           $400.00
             misc household goods
                                                                                        100% of fair market value, up to any
        Line from                                                                       applicable statutory limit
        Schedule A/B:          06

 3.     Are you claiming a homestead exemption of more than $160,375?
        (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                  No
                  Yes



      Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                          page 1
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Debtor 1 Larry                                                      Warr                        Case number (if known)
         First Name                    Middle Name                  Last Name

Part 2: Additional Page

    Brief description of the property and     Current value of        Amount of the exemption you claim                  Specific laws that allow exemption
    line on Schedule A/B that lists this      the portion you
    property                                  own                     Check only one box for each exemption.

                                              Copy the value from
                                              Schedule A/B

    Brief                                                                                                                       735 ILCS 5/12-1001(b)
    description:                                     $200.00
                                                                                              $200.00
        North Star
                                                                           100% of fair market value, up to any
    Line from                                                              applicable statutory limit
    Schedule A/B:      17
    Brief                                                                                                                       735 ILCS 5/12-1001(b)
    description:                                     $250.00
                                                                                              $250.00
        misc electronics
                                                                           100% of fair market value, up to any
    Line from                                                              applicable statutory limit
    Schedule A/B:      07
    Brief                                                                                                                       735 ILCS 5/12-1001(b)
    description:                                     $500.00
                                                                                                $0
        Bedroom Set
                                                                           100% of fair market value, up to any
    Line from                                                              applicable statutory limit
    Schedule A/B:      06




  Official Form 106C                                  Schedule C: The Property You Claim as Exempt                                              page 2
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 Fill in this information to identify your case:

 Debtor 1             Larry                                                               Warr
                      First Name                              Middle Name                 Last Name
 Debtor 2
 (Spouse, if filing) First Name                               Middle Name                 Last Name

 United States Bankruptcy Court for the:           Northern                        District of Illinois
                                                                                               (State)
 Case number
 (If known)

                                                                                                                                                         Check if this is an
Official Form 106D                                                                                                                                       amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name
and case number (if known).
 1.     Do any creditors have claims secured by your property?
              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below.

 Part 1:      List All Secured Claims
 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor separately Column A                   Column B            Column C
         for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim        Value of            Unsecured
         much as possible, list the claims in alphabetical order according to the creditor's name.                Do not deduct the      collateral          portion
                                                                                                                  value of collateral.   that supports       If any
                                                                                                                                         this claim
 2.1 Progressive Leasing                            Describe the property that secures the claim:                      $2,000.00              $500.00         $1,500.00
         Creditor's Name
         256 West Data Drive                        Bedroom Set | Value: $500.00
              Number               Street           As of the date you file, the claim is: Check all that apply.
                                                        Contingent
         Draper         Utah         84020                 Unliquidated
         City           State        ZIP Code
                                                           Disputed
         Who owes the debt? Check one.
           Debtor 1 only                            Nature of lien. Check all that apply.
                Debtor 2 only                              An agreement you made (such as mortgage or secured
                                                           car loan)
                Debtor 1 and Debtor 2 only
                                                           Statutory lien (such as tax lien, mechanic's lien)
             At least one of the debtors and
             another                                       Judgment lien from a lawsuit
             Check if this claim relates                   Other (including a right to offset)
             to a community debt
         Date debt was                              Last 4 digits of account number
         incurred
                    Add the dollar value of your entries in Column A on this page. Write that                          $2,000.00
                    number here:




      Official Form 106D                                     Schedule D: Creditors Who Have Claims Secured by Property                                    page 1
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 Fill in this information to identify your case:

 Debtor 1            Larry                                                        Warr
                     First Name                           Middle Name             Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name             Last Name

 United States Bankruptcy Court for the:           Northern                 District of Illinois
                                                                                        (State)
 Case number
 (If known)
                                                                                                                                               Check if this is an amended filing
Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims
that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the
entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if
known).
 Part 1:      List All of Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
              Yes.
 2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim
      listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As
      much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the
      Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total         Priority      Nonpriority
                                                                                                                                       claim         amount        amount




  Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1
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Debtor 1 Larry                                                              Warr                          Case number (if known)
           First Name                          Middle Name                  Last Name

Part 2:   List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes.
4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one priority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1.
      If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims fill out the Continuation
      Page of Part 2.
                                                                                                                                                            Total claim
4.1    ATG CREDIT                                                                                                                                                 $14.00
                                                                                   Last 4 digits of account number           0171
       Nonpriority Creditor's Name
       1700 W CORTLAND ST STE 2                                                    When was the debt incurred?            12/1/2015
       Number       Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
       CHICAGO               Illinois                        60622
       City                  State                           Zip Code                   Unliquidated
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                        Student loans
            Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                     that you did not report as priority claims
            Check if this claim relates to a community debt                             Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
       Is the claim subject to offset?
                                                                                                           001 Collection; Collecting for
            No                                                                                               ORIGINAL CREDITOR:
            Yes                                                                         Other. Specify     MEDICAL PAYMENT DATA

4.2    City of Chicago Parking                                                                                                                                  $2,000.00
                                                                                   Last 4 digits of account number
       Nonpriority Creditor's Name
       121 N. LaSalle St # 107A                                                    When was the debt incurred?                n/a
       Number       Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
       Chicago               Illinois                        60602
       City                  State                           Zip Code                   Unliquidated
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                        Student loans
            Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                     that you did not report as priority claims
            Check if this claim relates to a community debt                             Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
       Is the claim subject to offset?
                                                                                        Other. Specify                past due
            No
            Yes
4.3    CREDITORS DISCOUNT & A                                                                                                                                    $749.00
                                                                                   Last 4 digits of account number           3559
       Nonpriority Creditor's Name
       415 E MAIN ST                                                               When was the debt incurred?            12/1/2012
       Number       Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
       STREATOR              Illinois                        61364
       City                  State                           Zip Code                   Unliquidated
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                        Student loans
            Debtor 1 and Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                     that you did not report as priority claims
            Check if this claim relates to a community debt                             Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
       Is the claim subject to offset?
                                                                                                           001 Collection; Collecting for
            No                                                                                               ORIGINAL CREDITOR:
            Yes                                                                         Other. Specify     MEDICAL PAYMENT DATA




 Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 2
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Debtor 1 Larry                                                         Warr                          Case number (if known)
         First Name                        Middle Name                 Last Name

Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page
      After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim
4.4   Honor Finance                                                                                                                                  $11,446.00
                                                                              Last 4 digits of account number           9301
      Nonpriority Creditor's Name
      PO Box 1817                                                             When was the debt incurred?            1/1/2014
      Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
      Evanston              Illinois                     60204
      City                  State                        Zip Code                  Unliquidated
      Who incurred the debt? Check one.                                            Disputed
           Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
          Debtor 2 only
                                                                                   Student loans
          Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
          At least one of the debtors and another                                  that you did not report as priority claims
           Check if this claim relates to a community debt                         Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
      Is the claim subject to offset?
                                                                                   Other. Specify            051 Automobile
           No
          Yes
4.5   JVDB ASC                                                                                                                                       $3,213.00
                                                                              Last 4 digits of account number          R490
      Nonpriority Creditor's Name
      PO Box 5718                                                             When was the debt incurred?            8/1/2016
      Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
      Elgin                 Illinois                     60121
      City                  State                        Zip Code                  Unliquidated
      Who incurred the debt? Check one.                                            Disputed
           Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
          Debtor 2 only
                                                                                   Student loans
          Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
          At least one of the debtors and another                                  that you did not report as priority claims
           Check if this claim relates to a community debt                         Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
      Is the claim subject to offset?
                                                                                                        Collection; Collecting for
           No                                                                                        ORIGINAL CREDITOR: 12 SIR
          Yes                                                                      Other. Specify         FINANCE CORP 16

4.6   MBB                                                                                                                                             $142.00
                                                                              Last 4 digits of account number           9001
      Nonpriority Creditor's Name
      1550 N NORTWEST HWY STE 403                                             When was the debt incurred?            12/1/2013
      Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
      PARK RIDGE            Illinois                     60068
      City                  State                        Zip Code                  Unliquidated
      Who incurred the debt? Check one.                                            Disputed
           Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
          Debtor 2 only
                                                                                   Student loans
          Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
          At least one of the debtors and another                                  that you did not report as priority claims
           Check if this claim relates to a community debt                         Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
      Is the claim subject to offset?
                                                                                                      001 Collection; Collecting for
           No                                                                                           ORIGINAL CREDITOR:
          Yes                                                                      Other. Specify     MEDICAL PAYMENT DATA




 Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                            page 3
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Debtor 1 Larry                                                         Warr                          Case number (if known)
         First Name                        Middle Name                 Last Name

Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page
      After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim
4.7   MBB                                                                                                                                              $66.00
                                                                              Last 4 digits of account number           3002
      Nonpriority Creditor's Name
      1550 N NORTWEST HWY STE 403                                             When was the debt incurred?            1/1/2014
      Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
      PARK RIDGE            Illinois                     60068
      City                  State                        Zip Code                  Unliquidated
      Who incurred the debt? Check one.                                            Disputed
           Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
          Debtor 2 only
                                                                                   Student loans
          Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
          At least one of the debtors and another                                  that you did not report as priority claims
           Check if this claim relates to a community debt                         Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
      Is the claim subject to offset?
                                                                                                      001 Collection; Collecting for
           No                                                                                           ORIGINAL CREDITOR:
          Yes                                                                      Other. Specify     MEDICAL PAYMENT DATA

4.8   OVERLND BOND                                                                                                                                   $11,423.00
                                                                              Last 4 digits of account number           5564
      Nonpriority Creditor's Name
      4701 W FULLERTON                                                        When was the debt incurred?             3/1/2011
      Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
      CHICAGO               Illinois                     60639
      City                  State                        Zip Code                  Unliquidated
      Who incurred the debt? Check one.                                            Disputed
           Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
          Debtor 2 only
                                                                                   Student loans
          Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
          At least one of the debtors and another                                  that you did not report as priority claims
           Check if this claim relates to a community debt                         Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
      Is the claim subject to offset?
                                                                                   Other. Specify             30 Automobile
           No
          Yes
4.9   STATE COLLECTION SERVI                                                                                                                          $396.00
                                                                              Last 4 digits of account number           1216
      Nonpriority Creditor's Name
      2509 S STOUGHTON RD                                                     When was the debt incurred?            4/1/2013
      Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
      MADISON               Wisconsin                    53716
      City                  State                        Zip Code                  Unliquidated
      Who incurred the debt? Check one.                                            Disputed
           Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
          Debtor 2 only
                                                                                   Student loans
          Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
          At least one of the debtors and another                                  that you did not report as priority claims
           Check if this claim relates to a community debt                         Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
      Is the claim subject to offset?
                                                                                                      001 Collection; Collecting for
           No                                                                                           ORIGINAL CREDITOR:
          Yes                                                                      Other. Specify     MEDICAL PAYMENT DATA




 Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                            page 4
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Debtor 1 Larry                                                         Warr                         Case number (if known)
         First Name                        Middle Name                 Last Name

Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page
       After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim
4.10   U S DEPT OF ED/GSL/ATL                                                                                                                        $4,841.00
                                                                              Last 4 digits of account number           8897
       Nonpriority Creditor's Name
       PO BOX 2287                                                            When was the debt incurred?            3/1/2000
       Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
       ATLANTA               Georgia                      30301
       City                  State                        Zip Code                 Unliquidated
       Who incurred the debt? Check one.                                           Disputed
            Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                   Student loans
           Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
           At least one of the debtors and another                                 that you did not report as priority claims
            Check if this claim relates to a community debt                        Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
       Is the claim subject to offset?
                                                                                   Other. Specify
            No
           Yes
4.11   VERIZON WIRELESS                                                                                                                              $1,232.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
       PO BOX 4002                                                            When was the debt incurred?            6/1/2014
       Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
       Acworth               Georgia                      30101
       City                  State                        Zip Code                 Unliquidated
       Who incurred the debt? Check one.                                           Disputed
            Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                   Student loans
           Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
           At least one of the debtors and another                                 that you did not report as priority claims
            Check if this claim relates to a community debt                        Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
       Is the claim subject to offset?
                                                                                   Other. Specify        001 UnknownLoanType
            No
           Yes
4.12   Wow Internet & Cable                                                                                                                           $200.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
       PO Box 63000                                                           When was the debt incurred?               n/a
       Number       Street
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                  Contingent
       Colorado Springs      Colorado                     80962
       City                  State                        Zip Code                 Unliquidated
       Who incurred the debt? Check one.                                           Disputed
            Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                   Student loans
           Debtor 1 and Debtor 2 only
                                                                                   Obligations arising out of a separation agreement or divorce
           At least one of the debtors and another                                 that you did not report as priority claims
            Check if this claim relates to a community debt                        Debts to pension or profit-sharing plans, and other similar
                                                                                   debts
       Is the claim subject to offset?
                                                                                   Other. Specify                past due
            No
           Yes




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Debtor 1 Larry                                                       Warr                     Case number (if known)
         First Name                      Middle Name                 Last Name

Part 4: Add the Amounts for Each Type of Unsecured Claim
6.
     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
     Add the amounts for each type of unsecured claim.


                                                                                         Total claims

                                                                                               $0.00
Total claims      6a. Domestic support obligations.                                6a.
from Part 1
                                                                                               $0.00
                  6b. Taxes and certain other debts you owe the government         6b.


                  6c. Claims for death or personal injury while you were           6c.         $0.00
                      intoxicated

                                                                                               $0.00
                  6d. Other. Add all other priority unsecured claims. Write that   6d.
                      amount here.
                                                                                               $0.00
                  6e. Total. Add lines 6a through 6d.                              6e.


                                                                                         Total claims

                                                                                             $4,841.00
Total claims      6f. Student loans                                                6f.
from Part 2
                  6g. Obligations arising out of a separation agreement or         6g.         $0.00
                      divorce that you did not report as priority claims


                  6h. Debts to pension or profit-sharing plans, and other similar 6h.          $0.00
                      debts

                                                                                             $30,881.00
                  6i. Other. Add all other nonpriority unsecured claims. Write     6i.
                      that amount here.


                  6j. Total. Add lines 6f through 6i.                              6j.       $35,722.00




 Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 6
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 Fill in this information to identify your case:

 Debtor 1          Larry                                                           Warr
                   First Name                             Middle Name              Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name              Last Name

 United States Bankruptcy Court for the:           Northern                  District of Illinois
                                                                                         (State)
 Case number
 (If known)

                                                                                                                                                         Check if this is an
Official Form 106G                                                                                                                                       amended filing


Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name
and case number (if known).
 1. Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
    vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.


        Person or company with whom you have the contract or lease                                            State what the contract or lease is for




   Official Form 106G                                         Schedule G: Executory Contracts and Unexpired Leases                                        page 1
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 Fill in this information to identify your case:

 Debtor 1             Larry                                                          Warr
                      First Name                          Middle Name                Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name                Last Name

 United States Bankruptcy Court for the:           Northern                    District of Illinois
                                                                                           (State)
 Case number
 (If known)

                                                                                                                                                             Check if this is an
                                                                                                                                                             amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the
entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known).
Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
              No
              Yes

 2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
       Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
              No. Go to line 3.
              Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                    No
                    Yes. In which community state or territory did you live?                          Fill in the name and current address of that person.


                      Name of your spouse, former spouse, or legal equivalent

                      Number      Street

                      City                                       State                          Zip Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
    again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
    Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                               Check all schedules that apply:




      Official Form 106H                                                   Schedule H: Your Codebtors                                                         page 1
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 Fill in this information to identify your case:

Debtor 1          Larry                                                       Warr
                  First Name                       Middle Name                Last Name
                                                                                                                      Check if this is:
Debtor 2
(Spouse, if filing) First Name                     Middle Name                Last Name                                   An amended filing
                                                                                                                          A supplement showing post-petition chapter 13
United States Bankruptcy Court for the:     Northern                    District of Illinois
                                                                                                                          expenses as of the following date:
                                                                                    (State)
Case number
(If known)                                                                                                                MM / DD / YYYY


Official Form 106I
Schedule I: Your Income                                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are
equally responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living
with you, include information about your spouse. If you are separated and your spouse is not filing with you, do not
include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

Part 1: Describe Employment


        1. Fill in your employment                                         Debtor 1                                       Debtor 2
           information.
                                            Employment status                 Employed                                       Employed
             If you have more than one
             job,                                                             Not Employed                                   Not Employed
             attach a separate page with
             information about additional   Occupation
             employers.
                                            Employer's name               Jemberg Industries, LLC (MPG)
             Include part time, seasonal,
                                            Employer's address            1 Towne Sq
             or                                                            Number Street                                  Number Street
             self-employed work.

             Occupation may include
             student
             or homemaker, if it applies.
                                                                          Southfield           Michigan   48076
                                                                          City                 State      Zip Code        City                  State     Zip Code


                                            How long employed
                                            there?


 Part 2: Give Details About Monthly Income

 Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless
 you are separated.
 If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
 attach a separate sheet to this form.
                                                                                                For Debtor 1             For Debtor 2 or
                                                                                                                         non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll             2.                 $4,146.13
     deductions.) If not paid monthly, calculate what the monthly wage would be.
  3. Estimate and list monthly overtime pay.                                           3.                   + $0.00

  4. Calculate gross income. Add line 2 + line 3.                                      4.                 $4,146.13




 Official Form 106I                                                 Schedule I: Your Income                                                              page 1
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Debtor 1 Larry                                                            Warr                       Case number (if known)
          First Name                        Middle Name                   Last Name

                                                                                              For Debtor 1            For Debtor 2 or
                                                                                                                      non-filing spouse

  Copy line 4 here                                                                    4.              $4,146.13
5. List all payroll deductions:
   5a. Tax, Medicare, and Social Security deductions                                  5a.               $796.94
   5b. Mandatory contributions for retirement plans                                   5b.                 $0.00
   5c. Voluntary contributions for retirement plans                                   5c.                 $0.00
   5d. Required repayments of retirement fund loans                                   5d.                 $0.00
   5e. Insurance                                                                      5e.               $577.59
   5f. Domestic support obligations                                                   5f.               $956.80
   5g. Union dues                                                                     5g.                $63.57
   5h. Other deductions. Specify: Healthcare                                          5h. +              $14.73 +
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g              6.              $2,409.64
+5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                7.              $1,736.50

8. List all other income regularly received:
   8a. Net income from rental property and from operating a
       business, profession, or farm
       Attach a statement for each property and business showing gross
       receipts, ordinary and necessary business expenses, and the total
       monthly net income.                                                            8a.                 $0.00
   8b. Interest and dividends                                                         8b.                 $0.00
   8c. Family support payments that you, a non-filing spouse, or a
       dependent regularly receive
       Include alimony, spousal support, child support, maintenance,
       divorce settlement, and property settlement.                                   8c.                 $0.00
   8d. Unemployment compensation                                                      8d.                 $0.00
   8e. Social Security                                                                8e.                 $0.00
   8f. Other government assistance that you regularly receive
       Include cash assistance and the value (if known) of any non-cash
       assistance that you receive, such as food stamps (benefits under
       the Supplemental Nutrition Assistance Program) or housing
       subsidies
       Specify:                                                                       8f.                 $0.00
   8g. Pension or retirement income                                                   8g.                 $0.00
   8h. Other monthly income. Specify:                                                 8h. +               $0.00 +
9. Add all other income Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.               9.                  $0.00

10.Calculate monthly income. Add line 7 + line 9.                                     10.             $1,736.50 +                         =              $1,736.50
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other friends or
    relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
   Specify:                                                                                                                               11. +              $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                     12.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                         $1,736.50
                                                                                                                                                  Combined
                                                                                                                                                  monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.

        Yes. Explain:




Official Form 106I                                                  Schedule I: Your Income                                                         page 2
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 Fill in this information to identify your case:

 Debtor 1          Larry                                                              Warr
                   First Name                             Middle Name                 Last Name
 Debtor 2                                                                                                       Check if this is:
 (Spouse, if filing) First Name                           Middle Name                 Last Name
                                                                                                                    An amended filing
 United States Bankruptcy Court for the:           Northern                     District of Illinois                A supplement showing post-petition chapter 13
                                                                                            (State)                 expenses as of the following date:
 Case number
 (If known)
                                                                                                                    MM / DD / YYYY

Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:       Describe Your Household
 1. Is this a joint case?

          No. Go to line 2

          Yes. Does Debtor 2 live in a separate household?

                     No

                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have                            No
 dependents?
   Do not list Debtor 1 and                Yes. Fill out this information for     Dependent's relationship to      Dependent's          Does dependent live
   Debtor 2.                               each dependent                         Debtor 1 or Debtor 2             age                  with you?
 3. Do your expenses include
    expenses of people other               No
    than
                                           Yes
    yourself and your
    dependents?

Part 2:       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                         Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                            $725.00
      any rent for the ground or lot. 4.                                                                                                  4.
      If not included in line 4:
      4a. Real estate taxes                                                                                                              4a                     $0.00
      4b. Property, homeowner's, or renter's insurance                                                                                   4b.                    $0.00
      4c. Home maintenance, repair, and upkeep expenses                                                                                  4c.                    $0.00
      4d. Homeowner's association or condominium dues                                                                                    4d.                    $0.00




    Official Form 106J                                                      Schedule J: Your Expenses                                                  page 1
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Debtor 1 Larry                                                           Warr                       Case number (if known)
           First Name                        Middle Name                 Last Name


                                                                                                                                    Your expenses

5. Additional mortgage payments for your residence, such as home equity loans                                                  5.               $0.00
6. Utilities:
   6a. Electricity, heat, natural gas                                                                                         6a.           $175.00
   6b. Water, sewer, garbage collection                                                                                       6b.               $0.00
   6c. Telephone, cell phone, Internet, satellite, and cable services                                                         6c.              $61.00
   6d. Other. Specify:                                                                                                         6d               $0.00
7. Food and housekeeping supplies                                                                                              7.           $200.00
8. Childcare and children's education costs                                                                                   8.                $0.00
9. Clothing, laundry, and dry cleaning                                                                                        9.               $70.00
10. Personal care products and services                                                                                       10.              $70.00
11. Medical and dental expenses                                                                                               11.               $0.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                              12.           $160.00
     Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                        13.               $0.00
14. Charitable contributions and religious donations                                                                          14.               $0.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
   15a. Life insurance                                                                                                        15a               $0.00
   15b. Health insurance                                                                                                      15b               $0.00
   15c. Vehicle insurance                                                                                                     15c              $50.00
   15d. Other insurance. Specify:                                                                                             15d               $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
   Specify:                                                                                                                                     $0.00
                                                                                                                               16
17. Installment or lease payments:
   17a. Car payments for Vehicle 1                                                                                            17a               $0.00
   17b. Car payments for Vehicle 2                                                                                            17b               $0.00
   17c. Other. Specify:                                                                                                       17c               $0.00
   17d. Other. Specify:                                                                                                       17d               $0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from                                                 $0.00
     your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                        18.
19.Other payments you make to support others who do not live with you.
   Specify:                                                                                                                   19.               $0.00
20.Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
   20a. Mortgages on other property                                                                                           20a               $0.00
   20b. Real estate taxes.                                                                                                    20b               $0.00
   20c. Property, homeowner's, or renter's insurance                                                                          20c               $0.00
   20d. Maintenance, repair, and upkeep expenses.                                                                             20d               $0.00
   20e. Homeowner's association or condominium dues                                                                           20e               $0.00




   Official Form 106J                                                   Schedule J: Your Expenses                                     page 2
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Debtor 1 Larry                                                         Warr                      Case number (if known)
          First Name                        Middle Name                Last Name

21.Other. Specify:                                                                                                         21                    $0.00


22. Calculate your monthly expenses.                                                                                                        $1,511.00
   22a. Add lines 4 through 21.                                                                                                                  $0.00
   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                                     $1,511.00
   22c. Add line 22a and 22b. The result is your monthly expenses.                                                        22.
23.Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                                      23a               $1,736.50
   23b. Copy your monthly expenses from line 22 above.                                                                    23b               $1,511.00
   23c. Subtract your monthly expenses from your monthly income.                                                                             $225.50
         The result is your monthly net income.                                                                           23c

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

        No

        Yes

                  Explain here:




  Official Form 106J                                                 Schedule J: Your Expenses                                          page 3
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 Fill in this information to identify your case:

 Debtor 1           Larry                                                        Warr
                    First Name                            Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name            Last Name

 United States Bankruptcy Court for the:           Northern                District of Illinois
                                                                                       (State)
 Case number
 (If known)

                                                                                                                                                   Check if this is an
Official Form 106Dec                                                                                                                               amended filing

Declaration About an Individual Debtor's Schedules                                                                                                              12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


 Part 1:      Sign Below

      Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

              No

              Yes. Name of person                                                 Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                  Signature (Official Form 119).




      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

 û Signature
    /s/ Larry Warr
              of Debtor 1
                                                                                         û Signature of Debtor 2
     Date 10/9/2016                                                                           Date
          MM/DD/YYYY                                                                                 MM/DD/YYYY




  Official Form 106Dec                                        Declaration About an Individual Debtor's Schedules                                    page 1
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 Fill in this information to identify your case:

 Debtor 1             Larry                                                          Warr
                      First Name                          Middle Name                Last Name
 Debtor 2
 (Spouse, if filing) First Name                           Middle Name                Last Name

 United States Bankruptcy Court for the:           Northern                    District of Illinois
                                                                                           (State)
 Case number
 (If known)

                                                                                                                                                        Check if this is an
Official Form 107                                                                                                                                       amended filing

Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1:      Give Details About Your Marital Status and Where You Lived Before

 1.      What is your current marital status?

               Married
               Not married

 2.      During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


               Debtor 1:                                            Dates Debtor 1 lived              Debtor 2:                                Dates Debtor 2 lived
                                                                    there                                                                      there

                                                                                                             Same as Debtor 1                       Same as Debtor 1


                                                                    From                                                                       From
               Number Street                                                                          Number Street
                                                                    To                                                                         To


               City                State            Zip Code                                          City               State   Zip Code
                                                                                                             Same as Debtor 1                       Same as Debtor 1


                                                                    From                                                                       From
               Number Street                                                                          Number Street
                                                                    To                                                                         To


               City                State            Zip Code                                          City               State   Zip Code

 3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states and
      territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

            No
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




      Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
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Debtor 1 Larry                                                             Warr                          Case number (if known)
             First Name                      Middle Name                   Last Name

Part 2:     Explain the Sources of Your Income
4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time
      activities. If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
            No
            Yes. Fill in the details.

                                                   Debtor 1                                                       Debtor 2


                                                   Sources of income                   Gross income               Sources of income           Gross income
                                                   Check all that apply.               (before deductions and     Check all that apply.       (before deductions and
                                                                                       exclusions)                                            exclusions)

                                                           Wages,                           $36664.42                  Wages,
          From January 1 of current year until
                                                           commissions,                                                commissions,
          the date you filed for bankruptcy:               bonuses, tips                                               bonuses, tips
                                                           Operating a                                                 Operating a
                                                           business                                                    business
                                                           Wages,                           $42000.00                  Wages,
          For last calendar year:
                                                           commissions,                                                commissions,
          (January 1 to December 31,    2015 )             bonuses, tips                                               bonuses, tips
                                         YYYY
                                                           Operating a                                                 Operating a
                                                           business                                                    business
                                                           Wages,                           $42000.00                  Wages,
          For the calendar year before that:
                                                           commissions,                                                commissions,
          (January 1 to December 31, 2014 )                bonuses, tips                                               bonuses, tips
                                      YYYY
                                                           Operating a                                                 Operating a
                                                           business                                                    business

5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public
   benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint
   case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                     Debtor 1                                                      Debtor 2


                                                     Sources of income                   Gross income from         Sources of income           Gross income from
                                                     Describe below.                     each source               Describe below.             each source
                                                                                         (before deductions and                                (before deductions and
                                                                                         exclusions)                                           exclusions)


          From January 1 of current year until
          the date you filed for bankruptcy:



          For last calendar year:
          (January 1 to December 31,    2015 )
                                          YYYY

          For the calendar year before that:
          (January 1 to December 31, 2014 )
                                        YYYY




     Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
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Debtor 1 Larry                                                               Warr                          Case number (if known)
           First Name                           Middle Name                  Last Name

Part 3:   List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual
              primarily for a personal, family, or household purpose."

                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                 * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                            that creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of payment            Total amount paid             Amount you still owe      Was this payment
                                                                                                                                                   for...

          Creditor's Name                                                                                                                              Mortgage
                                                                                                                                                       Car
          Number Street                                                                                                                                Credit card
                                                                                                                                                       Loan repayment
                                                                                                                                                       Suppliers or
          City                State          Zip Code                                                                                                  vendors
                                                                                                                                                       Other

          Creditor's Name                                                                                                                              Mortgage
                                                                                                                                                       Car
          Number Street                                                                                                                                Credit card
                                                                                                                                                       Loan repayment
                                                                                                                                                       Suppliers or
          City                State          Zip Code                                                                                                  vendors
                                                                                                                                                       Other

          Creditor's Name                                                                                                                              Mortgage
                                                                                                                                                       Car
          Number Street                                                                                                                                Credit card
                                                                                                                                                       Loan repayment
                                                                                                                                                       Suppliers or
          City                State          Zip Code                                                                                                  vendors
                                                                                                                                                       Other




   Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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Debtor 1 Larry                                                           Warr                         Case number (if known)
           First Name                          Middle Name               Last Name


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

           No
           Yes. List all payments to an insider.
                                                              Dates of          Total amount         Amount you          Reason for this payment
                                                              payment           paid                 still owe


          Insider's Name

          Number Street



          City                State          Zip Code


          Insider's Name

          Number Street



          City                State          Zip Code

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.
                                                              Dates of          Total amount         Amount you          Reason for this payment
                                                              payment           paid                 still owe
                                                                                                                         Include creditor's name


          Insider's Name

          Number Street



          City                State          Zip Code


          Insider's Name

          Number Street



          City                State          Zip Code




     Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4
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Debtor 1 Larry                                                               Warr                         Case number (if known)
            First Name                            Middle Name                Last Name

Part 4:    Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
      contract disputes.

           No
           Yes. Fill in the details.
                                                                Nature of the case              Court or agency                               Status of the case
             Case title                                                                                                                           Pending
                                                                                                Court Name                                        On appeal
             Case number                                                                                                                           Concluded
                                                                                                NumberStreet


                                                                                                City             State        Zip Code
             Case title                                                                                                                           Pending
                                                                                                Court Name                                        On appeal
             Case number                                                                                                                           Concluded
                                                                                                NumberStreet


                                                                                                City             State        Zip Code

10.     Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
                                                                        Describe the property                                      Date              Value of the
                                                                                                                                                     property
                                                                        Cadillac STS 2008                                          10/2014           $0
             Honor Finance
             Creditor's Name
                                                                        Explain what happened
             PO Box 1817
             Number Street
                                                                            Property was repossessed.
                                                                            Property was foreclosed.
             Evanston              Illinois          60204                  Property was garnished.
             City                  State            Zip Code                Property was attached, seized, or levied.
                                                                        Describe the property                                      Date              Value of the
                                                                                                                                                     property


             Creditor's Name
                                                                        Explain what happened
             Number Street
                                                                            Property was repossessed.
                                                                            Property was foreclosed.
                                                                            Property was garnished.
             City                  State            Zip Code                Property was attached, seized, or levied.




      Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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Debtor 1 Larry                                                               Warr                       Case number (if known)
            First Name                           Middle Name                 Last Name


11.     Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?

            No
            Yes. Fill in the details.
                                                                        Describe the action the creditor took                    Date action   Amount
                                                                                                                                 was taken


             Creditor's Name

             Number Street

                                                                        Last 4 digits of account number: XXXX-


             City                  State               Zip Code

12.    Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
       appointed receiver, a custodian, or another official?

            No
            Yes

Part 5:     List Certain Gifts and Contributions

13.      Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

             No
             Yes. Fill in the details for each gift.
             Gifts with a total value of more than $600                 Describe the gifts                                       Dates you     Value
             per person                                                                                                          gave the
                                                                                                                                 gifts


             Person to Whom You Gave the Gift



             Number Street

             City                  State               Zip Code
             Person's relationship to you



             Person to Whom You Gave the Gift



             Number Street

             City                  State               Zip Code
             Person's relationship to you




      Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 6
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Debtor 1 Larry                                                             Warr                       Case number (if known)
            First Name                          Middle Name                Last Name


14.     Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
             Gifts or contributions to charities                      Describe what you contributed                            Date you        Value
             that total more than $600                                                                                         contributed


             Charity's Name



             Number Street

             City                  State           Zip Code

Part 6:     List Certain Losses

15.    Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
       gambling?
            No
            Yes. Fill in the details.
             Describe the property you lost and                       Describe any insurance coverage for the loss             Date of your   Value of property
             how the loss occurred                                    Include the amount that insurance has paid. List         loss           lost
                                                                      pending insurance claims on line 33 of Schedule
                                                                      A/B: Property.



Part 7:     List Certain Payments or Transfers

16.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
       about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
            No
            Yes. Fill in the details.
                                                                      Description and value of any property                    Date payment    Amount of
                                                                      transferred                                              or transfer     payment
                                                                                                                               was made
             LAW FIRM                                                 Attorney's Fee - 200.00                                  10/7/2016       $200.00
             Person Who Was Paid
             11101 S. Western Avenue
             Number Street


             Chicago               Illinois         60643
             City                  State           Zip Code

             Email or website address

             Person Who Made the Payment, if Not You


             Person Who Was Paid

             Number Street



             City                  State           Zip Code

             Email or website address

             Person Who Made the Payment, if Not You


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Debtor 1 Larry                                                            Warr                         Case number (if known)
            First Name                        Middle Name                 Last Name


17.    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
       help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
                                                                    Description and value of any property                       Date             Amount of
                                                                    transferred                                                 payment or       payment
                                                                                                                                transfer was
                                                                                                                                made

             Person Who Was Paid

             Number Street




             City                  State        Zip Code

18.    Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in
       the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include gifts and
       transfers that you have already listed on this statement.

            No
            Yes. Fill in the details.
                                                                    Description and value of any               Describe any property or                   Date
                                                                    property transferred                       payments received or debts paid            transfer was
                                                                                                               in exchange                                made


             Person Who Received Transfer

             Number Street




             City                State          Zip Code
             Person's relationship to you

             Person Who Received Transfer

             Number Street




             City                State          Zip Code
             Person's relationship to you

19.    Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
       (These are often called asset-protection devices.)

            No
            Yes. Fill in the details.
                                                                     Description and value of the property transferred                                   Date
                                                                                                                                                         transfer was
                                                                                                                                                         made

             Name of trust




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Debtor 1 Larry                                                           Warr                         Case number (if known)
            First Name                        Middle Name                Last Name

Part 8:    List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.    Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold,
       moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
       cooperatives, associations, and other financial institutions.

            No
            Yes. Fill in the details.
                                                                 Last 4 digits of account          Type of account or                Date                Last balance
                                                                 number                            instrument                        account was         before
                                                                                                                                     closed, sold,       closing or
                                                                                                                                     moved, or           transfer
                                                                                                                                     transferred

                                                                 XXXX-                                  Checking
             Person Who Was Paid
                                                                                                        Savings
             Number Street                                                                              Money market
                                                                                                        Brokerage
                                                                                                        Other

             City                 State        Zip Code

                                                                 XXXX-                                  Checking
             Person Who Was Paid
                                                                                                        Savings
             Number Street                                                                              Money market
                                                                                                        Brokerage
                                                                                                        Other

             City                 State        Zip Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or
    other valuables?

            No
            Yes. Fill in the details.
                                                               Who else had access to it?                       Describe the contents                    Do you still
                                                                                                                                                         have it?

             Name of Financial Institution                     Name                                                                                           No
                                                                                                                                                              Yes
             Number Street                                     Number     Street

                                                               City             State        Zip Code

             City                State       Zip Code

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
                                                               Who else had access to it?                       Describe the contents                    Do you still
                                                                                                                                                         have it?

             Name of Storage Facility                          Name                                                                                           No
                                                                                                                                                              Yes
             Number Street                                     Number     Street

                                                               City             State        Zip Code

             City                State       Zip Code



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Debtor 1 Larry                                                              Warr                         Case number (if known)
            First Name                         Middle Name                  Last Name

Part 9:    Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

            No
            Yes. Fill in the details.
                                                                 Where is the property?                          Describe the contents                Value


             Owner's Name                                        Number Street

             Number Street


                                                                 City              State        Zip Code

             City                State        Zip Code

Part 10: Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
          hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
          including statutes or regulations controlling the cleanup of these substances, wastes, or material.

          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it
          or used to own, operate, or utilize it, including disposal sites.

          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance,
          toxic substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
                                                                Governmental unit                                Environmental law, if you know it     Date of
                                                                                                                                                       notice

             Name of site                                       Governmental unit

             Number Street                                      Number Street


                                                                City               State        Zip Code

             City                State        Zip Code

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
                                                                Governmental unit                                Environmental law, if you know it     Date of
                                                                                                                                                       notice

             Name of site                                       Governmental unit

             Number Street                                      Number Street


                                                                City               State        Zip Code

             City                State        Zip Code


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Debtor 1 Larry                                                               Warr                           Case number (if known)
            First Name                          Middle Name                  Last Name


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
                                                                 Court or agency                                   Nature of the case                     Status of the
                                                                                                                                                          case
             Case title
                                                                                                                                                               Pending
                                                                 Court Name
                                                                                                                                                               On appeal
             Case number                                         NumberStreet
                                                                                                                                                               Concluded

                                                                 City               State        Zip Code

Part 11:     Give Details About Your Business or Connections to Any Business

27.     Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
                                                                        Describe the nature of the business                    Employer Identification number Do not
                                                                                                                               include Social Security number or ITIN.

                                                                                                                               EIN:
             Business Name


             Number Street                                                                                                     Dates business existed
                                                                        Name of accountant or bookkeeper

             City                   State          Zip Code                                                                    From            To




                                                                        Describe the nature of the business                    Employer Identification number Do not
                                                                                                                               include Social Security number or ITIN.

                                                                                                                               EIN:
             Business Name


             Number Street                                                                                                     Dates business existed
                                                                        Name of accountant or bookkeeper

             City                   State          Zip Code                                                                    From            To




                                                                        Describe the nature of the business                    Employer Identification number Do not
                                                                                                                               include Social Security number or ITIN.

                                                                                                                               EIN:
             Business Name


             Number Street                                                                                                     Dates business existed
                                                                        Name of accountant or bookkeeper

             City                   State          Zip Code                                                                    From            To




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Debtor 1 Larry                                                          Warr                      Case number (if known)
            First Name                        Middle Name               Last Name


28.    Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
       creditors, or other parties.

            No
            Yes. Fill in the details below.
                                                                     Date issued

              Name                                                   MM/DD/YYYY


              Number Street


              City                  State          Zip Code

Part 12: Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
      true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
      bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                     û       /s/ Larry Warr
                          Signature of Debtor 1
                                                                                           û     Signature of Debtor 2
                                                                                                 Date
                          Date 10/9/2016

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

           No
           Yes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

           No
           Yes. Name of person                                                                     Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

                                                                             Chapter 7: Liquidation
   This notice is for you if:

      You are an individual filing for                                                 $245      filing fee

      bankruptcy,                                                                        $75     administrative fee
      and                                                                   +            $15     trustee surcharge
                                                                                       $335      total fee

      Your debts are primarily consumer
      debts.                                                                Chapter 7 is for individuals who have financial
      Consumer debts are defined in 11 U.S.C. §                             difficulty preventing them from paying their
                                                                            debts and who are willing to allow their
      101(8) as "incurred by an individual primarily
                                                                            nonexempt property to be used to pay their
      for a personal, family, or household purpose."                        creditors. The primary purpose of filing under
                                                                            chapter 7 is to have your debts discharged. The
                                                                            bankruptcy discharge relieves you after
The types of bankruptcy that are                                            bankruptcy from having to pay many of your
available to individuals                                                    pre-bankruptcy debts. Exceptions exist for
                                                                            particular debts, and liens on property may still be
Individuals who meet the qualifications may file under                      enforced after discharge. For example, a creditor
one of four different chapters of the Bankruptcy                            may have the right to foreclose a home mortgage
Code:                                                                       or repossess an automobile.

    Chapter 7        — Liquidation                                          However, if the court finds that you have
                                                                            committed certain kinds of improper conduct
    Chapter 11 — Reorganization
                                                                            described in the Bankruptcy Code, the court may
    Chapter 12 — Voluntary repayment plan                                   deny your discharge.
                for family farmers or
                fishermen                                                   You should know that even if you file chapter 7
                                                                            and you receive a discharge, some debts are not
    Chapter 13 — Voluntary repayment plan
                                                                            discharged under the law. Therefore, you may still
                for individuals with regular
                                                                            be responsible to pay:
                income

                                                                                most taxes;
You should have an attorney review your
decision to file for bankruptcy and the choice                                  most student loans;
of chapter.
                                                                                domestic support and property settlement
                                                                                obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                    page 1
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    most fines, penalties, forfeitures, and criminal                          your income is more than the median income for
    restitution obligations; and                                              your state of residence and family size,
                                                                              depending on the results of the Means Test, the
    certain debts that are not listed in your                                 U.S. trustee, bankruptcy administrator, or
    bankruptcy papers.                                                        creditors can file a motion to dismiss your case
                                                                              under § 707(b) of the Bankruptcy Code. If a
 You may also be required to pay debts arising from:                          motion is filed, the court will decide if your case
                                                                              should be dismissed. To avoid dismissal, you may
                                                                              choose to proceed under another chapter of the
    fraud or theft;
                                                                              Bankruptcy Code.
    fraud or defalcation while acting in breach of
    fiduciary capacity;                                                       If you are an individual filing for chapter 7
                                                                              bankruptcy, the trustee may sell your property
    intentional injuries that you inflicted; and
                                                                              to pay your debts, subject to your right to
    death or personal injury caused by operating a                            exempt the property or a portion of the
    motor vehicle, vessel, or aircraft while                                  proceeds from the sale of the property. The
    intoxicated from alcohol or drugs.                                        property, and the proceeds from property that
                                                                              your bankruptcy trustee sells or liquidates that
                                                                              you are entitled to, is called exempt property.
If your debts are primarily consumer debts, the                               Exemptions may enable you to keep your home,
court can dismiss your chapter 7 case if it finds that                        a car, clothing, and household items or to receive
you have enough income to repay creditors a                                   some of the proceeds if the property is sold.
certain amount. You must file Chapter 7 Statement
of Your Current Monthly Income (Official Form
                                                                              Exemptions are not automatic. To exempt
122A-1) if you are an individual filing for
                                                                              property, you must list it on Schedule C: The
bankruptcy under chapter 7. This form will
                                                                              Property You Claim as Exempt (Official Form
determine your current monthly income and
                                                                              106C). If you do not list the property, the
compare whether your income is more than the
                                                                              trustee may sell it and pay all of the proceeds to
median income that applies in your state.
                                                                              your creditors.
If your income is not above the median for your
state, you will not have to complete the other                                Chapter 11: Reorganization
chapter 7 form, the Chapter 7 Means Test
Calculation (Official Form 122A-2).                                                    $1,167    filing fee
                                                                              +          $550    administrative fee
If your income is above the median for your state,
you must file a second form - the Chapter 7 Means                                      $1,717    total fee
Test Calculation (Official Form 122A-2). The
calculations on the form - sometimes called the                               Chapter 11 is often used for reorganizing a
Means Test - deduct from your income living                                   business, but is also available to individuals. The
expenses and payments on certain debts to                                     provisions of chapter 11 are too complicated to
determine any amount available to pay unsecured                               summarize briefly.
creditors. If




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                page 2
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Read These Important Warnings

Because bankruptcy can have serious long-term financial and legal consequences, including loss of your
property, you should hire an attorney and carefully consider all of your options before you file. Only an
attorney can give you legal advice about what can happen as a result of filing for bankruptcy and what your
options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly and protect
you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that many
people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
inaction may harm you. If you file without an attorney, you are still responsible for knowing and following
all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the necessary
documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                                        Under chapter 13, you must file with the court a
             farmers or fishermen                                             plan to repay your creditors all or part of the
                                                                              money that you owe them, usually using your
                                                                              future earnings. If the court approves your plan,
           $200     filing fee                                                the court will allow you to repay your debts, as
+            $75    administrative fee                                        adjusted by the plan, within 3 years or 5 years,
                                                                              depending on your income and other factors.
           $275     total fee

                                                                              After you make all the payments under your
Similar to chapter 13, chapter 12 permits family                              plan, many of your debts are discharged. The
farmers and fishermen to repay their debts over a                             debts that are not discharged and that you may
period of time using future earnings and to discharge                         still be responsible to pay include:
some debts that are not paid.
                                                                                 domestic support obligations,
 Chapter 13: Repayment plan for
             individuals with regular                                             most student loans,
             income                                                               certain taxes,
                                                                                 debts for fraud or theft,
           $235     filing fee
+            $75    administrative fee                                           debts for fraud or defalcation while acting in a
                                                                                 fiduciary capacity,
           $310     total fee
                                                                                  most criminal fines and restitution
Chapter 13 is for individuals who have regular                                    obligations,
income and would like to pay all or part of their                                certain debts that are not listed in your
debts in installments over a period of time and to
                                                                                 bankruptcy papers,
discharge some debts that are not paid. You are
eligible for chapter 13 only if your debts are not                                certain debts for acts that caused death or
more than certain dollar amounts set forth in 11                                  personal injury, and
U.S.C. § 109.
                                                                                  certain long-term secured debts.

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                                                                              A married couple may file a bankruptcy case
                                                                              together - called a joint case. If you file a joint
   Warning: File Your Forms on Time
                                                                              case and each spouse lists the same mailing
   Section 521(a)(1) of the Bankruptcy Code requires                          address on the bankruptcy petition, the
   that you promptly file detailed information about                          bankruptcy court generally will mail you and
   your creditors, assets, liabilities, income, expenses                      your spouse one copy of each notice, unless you
   and general financial condition. The court may                             file a statement with the court asking that each
   dismiss your bankruptcy case if you do not file this                       spouse receive separate copies.
   information within the deadlines set by the
   Bankruptcy Code, the Bankruptcy Rules, and the
   local rules of the court                                                   Understand which services you
                                                                              could receive from credit
   For more information about the documents and their                         counseling agencies
   deadlines, go to:
   http://www.uscourts.gov/bkforms/bankruptcy_form                            The law generally requires that you receive a
   s.html#procedure.                                                          credit counseling briefing from an approved
                                                                              credit counseling agency. 11 U.S.C. § 109(h). If
                                                                              you are filing a joint case, both spouses must
Bankruptcy crimes have serious                                                receive the briefing. With limited exceptions,
consequences                                                                  you must receive it within the 180 days before
                                                                              you file your bankruptcy petition. This briefing
    If you knowingly and fraudulently conceal assets                          is usually conducted by telephone or on the
    or make a false oath or statement under penalty                           Internet.
    of perjury - either orally or in writing - in
    connection with a bankruptcy case, you may be                             In addition, after filing a bankruptcy case, you
    fined, imprisoned, or both.                                               generally must complete a financial management
                                                                              instructional course before you can receive a
    All information you supply in connection with a
                                                                              discharge. If you are filing a joint case, both
    bankruptcy case is subject to examination by the
                                                                              spouses must complete the course.
    Attorney General acting through the Office of
    the U.S. Trustee, the Office of the U.S.
                                                                              You can obtain the list of agencies approved to
    Attorney, and other offices and employees of
                                                                              provide both the briefing and the instructional
    the U.S. Department of Justice.
                                                                              course from:
                                                                              http://www.justice.gov/ust/eo/hapcpa
Make sure the court has your                                                  /ccde/cc_approved.html
mailing address
                                                                              In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the mailing                            http://www.uscourts.gov/FederalCourts/Bankruptcy/
 address you list on Voluntary Petition for
                                                                              BankruptcyResources/ApprovedCredit
 Individuals Filing for Bankruptcy (Official Form
                                                                              20AndDebtCounselors.aspx
 101). To ensure that you receive information about
 your case, Bankruptcy Rule 4002 requires that you
 notify the court of any changes in your address.                             If you do not have access to a computer, the
                                                                              clerk of the bankruptcy court may be able to
                                                                              help you obtain the list.




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                                      UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF ILLINOIS

                           RIGHTS AND RESPONSIBILITIES AGREEMENT BETWEEN
                              CHAPTER 13 DEBTORS AND THEIR ATTORNEYS

        (Court-Approved Retention Agreement, Use for cases filed on or after September 19, 2016)

        Chapter 13 gives debtors important rights, such as the right to keep property that could otherwise be lost
through repossession or foreclosure, but Chapter 13 also puts burdens on debtors, such as the burden of making
complete and truthful disclosures of their financial situation. It is important for debtors who file a Chapter 13
bankruptcy case to understand their rights and responsibilities in bankruptcy. In this connection, the advice of an
attorney is often crucial. Debtors are entitled to certain services from their attorneys, but debtors also have
responsibilities to their attorneys. In order to assure that debtors and their attorneys understand their rights and
responsibilities in the Chapter 13 process, the judges of the Bankruptcy Court for the Northern District of Illinois
have approved this agreement, setting out the rights and responsibilities of both debtors in Chapter 13 and their
attorneys, including how their attorneys will be paid for their services in the Chapter 13 case. By signing this
agreement, debtors and their attorneys accept these responsibilities.

         The Bankruptcy Code may require a debtor's attorney to provide the debtor with certain documents and
agreements at the start of the representation. The terms of this court-approved agreement take the place of any
conflicting provision in an earlier agreement. This agreement cannot be modified in any way by other agreements.
Any provision of another agreement between the debtors and the attorney that conflicts with this agreement is void.

        A.       BEFORE THE CASE IS FILED

        THE DEBTOR AGREES TO:

1. Discuss with the attorney the debtor's objectives in filing the case.

2. Provide the attorney with full, accurate and timely information, financial and otherwise, including properly
documented proof of income.

        THE ATTORNEY AGREES TO:

1. Personally counsel the debtor regarding the advisability of filing either a Chapter 13 or a Chapter 7 case, discuss
both procedures (as well as non-bankruptcy options) with the debtor, and answer the debtor's questions.

2. Personally explain to the debtor that the attorney is being engaged to represent the debtor on all matters arising in
the case, as required by Local Bankruptcy Rule and explain how and when the attorney's fees and the trustee's fees are
determined and paid.

3. Personally review with the debtor and sign the completed petition, plan, statements, and schedules, as well as all
amendments thereto, whether filed with the petition or later. (The schedules may be initially prepared with the help
of clerical or paralegal staff of the attorney's office, but personal attention of the attorney is required for the review
and signing.)

4. Timely prepare and file the debtor's petition, plan, statements, and schedules.

5. Explain to the debtor how, when, and where to make all necessary payments, including both payments that must be
made directly to creditors and payments that must be made to the Chapter 13 trustee, with particular attention to
housing and vehicle payments.
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6. Advise the debtor of the need to maintain appropriate insurance.

        B.       AFTER THE CASE IS FILED

        THE DEBTOR AGREES TO:

1. Make the required payments to the trustee and to whatever creditors are being paid directly, or, if required
payments cannot be made, to notify the attorney immediately.

2. Appear punctually at the meeting of creditors (also called the "341 meeting") with recent proof of income and a
picture identification card. (If the identification card does not include the debtor's social security number, the debtor
must also bring to the meeting a social security card.) The debtor must be present in time for check-in and, when the
case is called, for the actual examination.

3. Notify the attorney of any change in the debtor's address or telephone number.

4. Inform the attorney of any wage garnishments or liens or levies on assets that occur or continue after the filing of
the case.

5. Contact the attorney immediately if the debtor loses employment, has a significant change in income, or
experiences any other significant change in financial situation (such as serious illness, marriage, divorce or separation,
lottery winnings, or an inheritance).

6. Notify the attorney if the debtor is sued or wishes to file a lawsuit (including divorce.)

7. Inform the attorney if any tax refunds to which the debtor is entitled are seized or not received when due from the
IRS or Illinois Department of Revenue.

8. Contact the attorney before buying, refinancing, or selling real property, and before entering into any loan
agreement.

9. Supply the attorney with copies of all tax returns filed while the case is pending.

        THE ATTORNEY AGREES TO:

1. Advise the debtor of the requirement to attend the meeting of creditors, and notify the debtor of the date, time,
and place of the meeting.

2. Inform the debtor that the debtor must be punctual and, in the case of a joint filing, that both spouses must appear
at the same meeting.

3. Provide knowledgeable legal representation for the debtor at the meeting of creditors (in time for check-in and the
actual examination) and, unless excused by the trustee, for the confirmation hearing.




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4. If the attorney will be employing another attorney to attend the 341 meeting or any court hearing, personally
explain to the debtor in advance, the role and identity of the other attorney and provide the other attorney with the
file in sufficient time to review it and properly represent the debtor.

5. Timely submit to the Chapter 13 trustee properly documented proof of income for the debtor, including business
reports for self-employed debtors.

6. Timely respond to objections to plan confirmation and, where necessary, prepare, file, and serve an amended plan.

7. Timely prepare, file, and serve any necessary statements, amended statements, and schedules and any change of
address, in accordance with information provided by the debtor.

8. Monitor all incoming case information (including, but not limited to, Order Confirming Plan, Notice of Intent to
Pay Claims, and 6-month status reports) for accuracy and completeness. Contact the trustee promptly regarding any
discrepancies.

9. Be available to respond to the debtor's questions throughout the term of the plan.

10. Prepare, file, and serve timely modifications to the plan after confirmation, when necessary, including
modifications to suspend, lower, or increase plan payments.

11. Prepare, file, and serve necessary motions to buy or sell property and to incur debt.

12. Object to improper or invalid claims.

13. Timely respond to the Chapter 13 trustee's motions to dismiss the case, such as for payment default, or
unfeasibility, and to motions to increase the percentage payment to unsecured creditors.

14. Timely respond to motions for relief from stay.

15. Prepare, file, and serve all appropriate motions to avoid liens.

16. Prepare, file, and serve a notice of conversion to Chapter 7, pursuant to § 1307(a) of the Bankruptcy Code and
Local Bankruptcy Rule 1017-1.

17. Provide any other legal services necessary for the administration of the case.

        C.       TERMINATION OR CONVERSION OF THE CASE AFTER ENTRY OF AN
                 ORDER APPROVING FEES AND EXPENSES

1. Approved fees and expenses paid under the provisions set out below are generally not refundable in the event that
the case is dismissed prior to its completion, unless the dismissal is due to a failure by the attorney to comply with the
duties set out in this agreement. If such a dismissal is due to a failure by the attorney, the court may order a refund of
fees on motion by the debtor.

2. If the case is dismissed after approval of the fees and expenses but before payment of all allowed fees and expenses,
the order entered by the Bankruptcy Court allowing the fees and expenses is not a judgment against the debtor for the
unpaid fees and expenses based on contract law or otherwise.

3.If the case is converted to a case under Chapter 7 after approval of the fees and expenses under this agreement but
before the payment of all fees and expenses, the attorney will be entitled to an administrative claim in the Chapter 7
case for any unpaid fees and expenses, pursuant to § 726(b) of the Bankruptcy Code, plus any conversion fee the
attorney pays on behalf of the debtor.



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        D.        RETAINERS AND PREVIOUS PAYMENTS

1. The attorney may receive a retainer or other payment before filing the case but may not receive fees directly from
the debtor after the filing of the case. Unless the following provision is checked and completed, any retainer received
by the attorney will be treated as a security retainer, to be placed in the attorney's client trust account until approval
of a fee application by the court.

         The attorney seeks to have the retainer received by the attorney treated as an advance payment retainer, which allows
         the attorney to take the retainer into income immediately. The attorney hereby provides the following further
         information and representations:
(a)      The special purpose for the advance payment retainer and why it is advantageous to the debtor is as follows:
         Client understands that any funds that client is rendering to The Semrad Law Firm, LLC as part of the advance
         payment retainer shall immediately become the property of The Semrad Law Firm, LLC in exchange for a commitment
         by The Semrad Law Firm, LLC to provide the legal services described above. Said funds will be deposited into the main
         bank account owned by The Semrad Law Firm, LLC and will be used for general expense of the firm. Client further
         understands that it is ordinarily the client's option to deposit funds with an attorney that shall remain client's property as
         security for future services. However, The Semrad Law Firm, LLC does not represent clients under such a security
         retainer because the preparation of a bankruptcy cases requires many disparate tasks and functions for the attorney
         and support staff; some of which require legal expertise while other may be only ministerial in nature. Client further
         understands that the benefit that client is receiving under the fee arrangement is the commitment of The Semrad Law
         Firm, LLC to perform any and all work reasonably necessary to represent client's interest absent any extraordinary
         circumstance.
(b)      The retainer will not be held in a client trust account and will become property of the attorney upon payment and will be
         deposited into the attorney's general account;
(c)      The retainer is a flat fee for the services to be rendered during the chapter 13 case and will be applied for such
         services without the need for the attorney to keep detailed hourly time records for the specific services performed for
         the debtor;
(d)      Any portion of the retainer that is not earned or required for expenses will be refunded to the client; and
(e)      The attorney is unwilling to represent the debtor without receiving an advanced payment retainer because of the nature
         of the chapter 13 case, the fact that the great majority of services for such case are performed prior to its filing, and
         the risks associated with the representation of debtors in bankruptcy cases in general.

2. In any application for compensation, the attorney must disclose to the court any fees or other compensation paid
by the debtor to the attorney for any reason within the one year before the case filing, including the date(s) any such
fees were paid.

        E.        CONDUCT AND DISCHARGE

1. Improper conduct by the attorney. If the debtor disputes the sufficiency or quality of the legal services provided or
the amount of the fees charged by the attorney, the debtor may file an objection with the court and request a hearing.

2. Improper conduct by the debtor. If the attorney believes that the debtor is not complying with the debtor's
responsibilities under this agreement or is otherwise engaging in improper conduct, the attorney may apply for a court
order allowing the attorney to withdraw from the case.

3. Discharge of the attorney. The debtor may discharge the attorney at any time.

        F.       ALLOWANCE AND PAYMENT OF ATTORNEYS' FEES AND EXPENSES

1. Any attorney retained to represent a debtor in a Chapter 13 case is responsible for representing the debtor on all
matters arising in the case unless otherwise ordered by the court. For all of the services outlined above, the attorney
will be paid a flat fee of $4,000.00 For all of the services outlined above, the attorney will be paid a flat fee of
$4,000.00
                                                              4
2. In addition, the debtor will pay the filing fee in the case and other expenses of $371.76
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3. Before signing this agreement, the attorney has received, $200.00
   toward the flat fee, leaving a balance due of $3,800.00 ; and $61.76 for expenses,
   leaving a balance due of $4,171.76

4. In extraordinary circumstances, such as extended evidentiary hearings or appeals, the attorney may apply to the
court for additional compensation for these services. Any such application must be accompanied by an itemization of
the services rendered, showing the date, the time expended, and the identity of the attorney performing the services.
The debtor must be served with a copy of the application and notified of the right to appear in court to object.

Date:     10/9/2016

Signed:

/s/ Larry Warr

                                                                /s/ Jason Diaz

Debtor(s)                                                   Attorney for Debtor(s)


Do not sign if the fee amounts at top of this page are blank.




                                                                                        Local Bankruptcy Form 23c
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B 203 (12/94)

                                           UNITED STATES BANKRUPTCY COURT
                                                       Northern District of Illinois
In re                            Larry Warr                                                 Case No.
                                  Debtor                                                                            (If known)

                                                                                            Chapter               Chapter 13


                DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
    1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the abovenamed debtor(s) and
       that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
       services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection w ith the bankruptcy case
       is as follows:

         For legal services, I have agreed to accept                                                                               $4,000.00

         Prior to the filing of this statement I have received                                                                      $200.00

         Balance Due                                                                                                               $3,800.00

    2. The source of the compensation paid to me was:

                        Debtor                              Other (specify)

    3. The source of the compensation paid to me is:

                        Debtor                              Other (specify)

    4.          I have not agreed to share the above-disclosed compensation with any other person unless they are
                members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a other person or persons who are not
                members or associates of my law firm. A copy of the agreement, together with a list of the names of
                the people sharing in the compensation, is attached.

    5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
           a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
               bankruptcy;

                b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

                c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

                d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

    6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                 CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation
  of the debtor(s) in this bankruptcy proceedings.

                     10/9/2016                                                       /s/ Jason Diaz
                       Date                                                        Signature of Attorney


                                                                                    Semrad Law Firm
                                                                                     Name of law firm
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                                                UNITED STATES BANKRUPTCY COURT
                                                       Northern District of Illinois

In re:                        Warr, Larry
                                                                         Case No.
                                 Debtor(s)

                                                                         Chapter.                    Chapter13


                                             VERIFICATION OF CREDITOR MATRIX
         The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.




Date:             10/9/2016                                                    /s/ Warr, Larry
                                                                               Warr, Larry
                                                                               Signature of Debtor




                                                                          1
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Honor Finance
PO Box 1817
Evanston , IL 60204




OVERLND BOND
4701 W FULLERTON
CHICAGO , IL 60639




U S DEPT OF ED/GSL/ATL
PO BOX 2287
ATLANTA , GA 30301




JVDB ASC
PO Box 5718
Elgin , IL 60121




VERIZON WIRELESS
PO BOX 4002
Acworth , GA 30101




CREDITORS DISCOUNT & A
415 E MAIN ST
STREATOR , IL 61364




STATE COLLECTION SERVI
2509 S STOUGHTON RD
MADISON , WI 53716




MBB
1550 N NORTWEST HWY STE 403
PARK RIDGE , IL 60068




MBB
1550 N NORTWEST HWY STE 403
PARK RIDGE , IL 60068




ATG CREDIT
1700 W CORTLAND ST STE 2
CHICAGO , IL 60622




City of Chicago Parking
121 N. LaSalle St # 107A
Chicago , IL 60602




Wow Internet & Cable
PO Box 63000
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Progressive Leasing
256 West Data Drive
Draper , UT 84020
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